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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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MICHAEL DARDASHTIAN, individually and on :
behalf of COOPER SQUARE VENTURES, LLC                            :    Case No. 1:17-cv-4327
NDAP, LLC AND CHANNELREPLY, LLC                                   :
                                                                 :
                                             Plaintiff,          :
                                                                 :
                  v.                                             :
                                                                 :
DAVID GITMAN, JEREMY FALK, SUMMIT                                :
ROCK HOLDINGS, LLC, ACCEL COMMERCE, :
LLC, DALVA VENTURES, LLC, KONSTANTYN :
BAGAEV, OLESKSII GLUKHAREV AND                                   :
CHANNEL REPLY, INC.,                                            :
                                             Defendants.         :
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                 Please take notice that the undersigned hereby appears as counsel for Defendants

Jeremy Falk and Summit Rock Holdings, LLC in the above-captioned action, and demands that

all Electronically Filed Documents be transmitted by e-mail to the address below.

Dated: New York, New York
       June 14, 2017

                                                              MORRISON COHEN LLP


                                                              By: /s/ Joaquin Ezcurra
                                                                 Joaquin Ezcurra
                                                                 jezcurra@morrisoncohen.com
                                                                 909 Third Avenue
                                                                 New York, New York 10022
                                                                 (212) 735-8600
